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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION


   MALEEHA AHMAD, et al.,               )
                                        )
         Plaintiffs,                    ) Case No. 4:17-cv-2455-CDP
                                        )
   v.                                   )
                                        )
         CITY OF ST. LOUIS,             )
                                        )

                              PROTECTIVE ORDER

         Pursuant to F.R.Civ.P. 26(c)(1), by consent of the

   parties, it is ORDERED as follows:

         1.     Material produced in response to requests for

   production of documents in this action may be designated by

   the producing party as "attorneys/experts eyes only," and

   such material shall not be disclosed or disseminated by

   counsel other than to or among counsel and identified

   experts, except by consent of the producing party or order

   of Court. The producing party shall clearly designate

   material that is intended as "attorneys/experts eyes only."

   Upon the conclusion of this action, all such material

   designated "attorneys/experts eyes only" shall be returned

   to the producing party and all electronic copies or

   representations of such material shall be destroyed.

                                                          Exhibit 1

                                                          3/21/19
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         2.     Material constituting privileged matter that is

   inadvertently disclosed shall, upon request of the

   producing party, be returned to the producing party

   forthwith and any and all copies or electronic copies of

   such material shall be destroyed.          No such material shall

   be utilized in any manner in discovery or at trial unless

   by consent of the producing party or by order of court.               If

   the receiving party objects to the return of such material,

   the parties shall then proceed in accordance with Rule

   26(c)(1) to resolve any dispute.

         3.     The parties shall reasonably apply the

   designation of "attorneys/experts eyes only" to material

   and such designation shall be applicable only to personnel

   records, criminal records not otherwise public, and

   operational planning materials of law enforcement agencies

   not otherwise public.       The designation shall be made in a

   manner that enables the receiving party to readily identify

   the material so designated.         The receiving party, upon

   review of material so designated, may object to its

   designation as "attorneys/experts eyes only" and the

   parties shall then proceed in accordance with Rule 26(c)(1)

   to resolve any dispute.

                                        SO ORDERED:




                                       2
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                                        __________________________
                                        United States District Judge

   Dated: _____________, 2019




                                       3
